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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                               OWENSBORO DIVISION

                                   ELECTRONICALLY FILED

DAVE E. TROTTER                        )
                                       )
and                                    )
                                       )
BRENDI JENNIFER TROTTER                )
                                       ) CASE NO:4:18-CV-174-JHM
                   PLAINTIFFS          )
                                       )
v.                                     )
                                       )
                                       )
FRONTLINE EQUIPMENT, LLC, ET. AL.      )
                                       )
                  DEFENDANTS           )
______________________________________ )
                                  *** *** ***

                                   NOTICE OF REMOVAL

       Now comes Defendant Frontline Equipment, LLC, by counsel and hereby files this Notice

of Removal in the United States District Court for the Western District of Kentucky, Owensboro

Division, pursuant to the provisions of 28 U.S.C. §1446(a). In support of this Notice of Removal,

the Defendant states as follows:



   1. On or about October 12, 2018, Plaintiffs Dave E. Trotter and Brendi Jennifer Trotter filed

       a civil action against Defendant Frontline Equipment, LLC and Paul Arbogast in the

       Hopkins County Circuit Court, Division I, designated therein as Civil Action NO. 18-CI-

       00701. A true and complete copy of the Plaintiffs’ original Complaint is attached hereto

       as Exhibit 1.




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2. On or about October 18, 2018 the Kentucky Secretary of State delivered a copy of the of

   the Complaint, via the Complaint to Jolene A. Peachey at the address of Defendant.

3. On or about November 14, 2018, Defendant Frontline Equipment, LLC filed an Answer to

   Plaintiffs’ Complaint. A true and accurate copy of that Answer is attached hereto as

   Exhibit 2.

4. According to the allegations of the Complaint, the Defendants Frontline Equipment, LLC

   and Paul Arbogast are foreign corporations and/or parties. According to the allegations of

   the Complaint, Plaintiffs are both citizens and residents of Hopkins County in the

   Commonwealth of Kentucky.          Therefore there is complete diversity of citizenship

   between the Plaintiffs and Defendants.

5. Defendant Frontline Equipment, LLC submits that the amount in controversy in this matter

   is greater than $75,000.00.

6. This action is one over which the U.S. District Courts of the United States have original

   jurisdiction pursuant to 28 U.S.C. §1332. This action is removed to the United States

   District Court for the Western District of Kentucky, Owensboro Division, pursuant to 28

   U.S.C. §1332(a) as this District and Division embrace the place where the action has been

   pending.

7. This Notice of Removal is filed within thirty (30) days of Defendant becoming aware of

   the fact that Plaintiffs allege a cause of action against them in which the amount in

   controversy exceeds $75,000.00.

8. Written notice of this filing of this Notice of Removal will promptly be given to the Parties

   and a copy of this Notice of Removal will be filed with the Clerk of the Hopkins County

   Circuit Court.



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   9. The documents attached hereto as Exhibits 1 and 2 include copies of all pleadings filed of

       record in this action and heretofore.

   10. The lone remaining Defendant, Paul Arbogast, has not yet been served with the Complaint.



Wherefore, Defendant Frontline Equipment, LLC, by counsel respectfully requests that the United

States District Court for the Western District of Kentucky, Owensboro Division, accept the present

case and issue appropriate orders pertaining to discovery, scheduling and all other matters.



                                                     Respectfully Submitted


                                                     /s/ Benjamin L. Riddle
                                                     BENJAMIN L. RIDDLE
                                                     MCBRAYER, MCGINNIS, LESLIE
                                                     & KIRKLAND PLLC
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                                                     Counsel for Defendant
                                                     Frontline Equipment, LLC




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                               CERTIFICATE OF SERVICE

     It is hereby certified that a true and correct copy of the foregoing has this 15th day of
November, 2018, been served via electronic filing and/or U.S. Mail upon the following:

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Counsel for Plaintiffs

Paul Arbogast
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Allensville, PA 17002
Defendant


                                                  /s/ Benjamin L. Riddle
                                                  Counsel for Defendant
                                                  Frontline Equipment, LLC
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